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 8                     UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF CALIFORNIA
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11   CHRISTOPHER D. SCHNEIDER,       No. CIV. S-11-2953 LKK/DAD PS
12               Plaintiff,
13        v.                         ORDER
14   BANK OF AMERICA N.A., BANK OF
     AMERICA MORTGAGE, BANK OF
15   AMERICA HOME LOANS SERVICING
     LP, BALBOA INSURANCE CO.,
16   HOME RETENTION GROUP, QUALITY
     LOAN SERVICE CORP., CLIFF
17   COLER, DOES 1-40,
18               Defendants.
19

20        This is a mortgage foreclosure case.    Plaintiff, proceeding

21   pro se, alleges fifteen (15) federal and state causes of action

22   relating to the foreclosure of his home.    Defendants’ motions to

23   dismiss were heard by a United States Magistrate Judge pursuant

24   to E.D. Cal. R. (“Local Rule”) 302(c)(21).

25        On March 26, 2013, the Magistrate Judge filed extensive

26   Findings and Recommendations herein which were served on all

27   parties and which contained notice to all parties that any

28   objections to the Findings and Recommendations were to be filed
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 1   within fourteen days.   Plaintiff timely has filed objections to
 2   the Findings and Recommendations, and defendants have timely
 3   filed a response to plaintiff’s objections.
 4        In accordance with the provisions of 28 U.S.C. 636(b)(1)(c)
 5   and Local Rule 304, this court has conducted a de novo review of
 6   this case.   Having carefully reviewed the entire file, this court
 7   finds the Findings and Recommendations to be supported by the
 8   record and by the Magistrate Judge’s analysis, except as set
 9   forth below.
10        Defendants Bank of American, NA (“BANA”), BAC Home Loans
11   Servicing LP (“BAC Home Loans”) and Balboa Insurance Co.
12   (“Balboa”), assert that the 45-page complaint “should be
13   dismissed in its entirety, with prejudice,” because it is not a
14   “short and plain” statement of the claims, and is confusing as to
15   which claims are asserted against which defendants.1    ECF No. 96
16   at 14-15.    It is within this court’s discretion to dismiss an
17   incomprehensible or over-long complaint which no reasonable
18   defendant could comprehend or know how to respond to.    See, e.g.,
19   McHenry v. Renne, 84 F.3d 1172, 1179 (9th Cir. 1996).
20        It is true that plaintiff’s pro se Complaint is a bit of a
21   mess.2   However, the Complaint does not deserve a Rule 8
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     1
      The motions to dismiss were filed by defendants BANA, BAC Home
23   Loans and Balboa, in one motion, and by Quality Loan Service
     Corp. (“QLS”), in another. No dismissal motions were filed by
24   defendants Bank of America Mortgage (“BAC Mortgage”), Home
25   Retention Group (“HRG”) or “FHLMC LBAC 173 a.k.a. Federal Home
     Loan Mortgage Corp.” (“FLHMC”).
26   2
      For example, the Complaint has an unfortunate tendency to lump
27   all defendants together. However, it is possible to disentangle
     even these allegations, in most cases. For example, plaintiff
28   typically alleges that Defendant A engaged in unlawful conduct,
                                     2
 1   dismissal, as the court is able to disentangle much of what
 2   plaintiff is alleging.    The court also notes that pro se
 3   plaintiff here is essentially caught in the legal vise created by
 4   the defendants’ complaining that the Complaint is at once too
 5   specific for Rule 8, while also being not specific enough for
 6   Rules 9(b) and 12(b)(6).
 7                        I.    CLAIM ONE - RESPA
 8        A.   12 U.S.C. § 2605(e) and 24 C.F.R. § 3500.21.
 9        Plaintiff alleges that defendants BANA and BAC Home Loans
10   violated the Real Estate Settlement Procedures Act (“RESPA”), 12
11   U.S.C. § 2605(e), and 24 C.F.R. § 3500.21, by failing to respond
12   to his Qualified Written Requests (“QWR”), that is, letters he
13   wrote to defendant loan servicers regarding the servicing of his
14   loan.3
15        Specifically, (1) plaintiff alleges that on August 17, 2010,
16   he sent a QWR to defendant BAC Home Loans Servicing LP (“BAC Home
17   Loans”), the loan servicer at the time.   The QWR is attached as
18   Exhibit C to the Complaint.   See Second Amended Complaint (ECF
19   No. 91) (“Complaint”) ¶ 27; Exhibit C to the Complaint (ECF
20   No. 91-1) at 31.4   BAC Home Loans “willfully ignored” the QWR and
21

22   and then alleges that Defendants A, B, C and D are liable without
     any allegation that would make Defendants B, C and D liable for
23   A’s violation. In that case, the court considers plaintiff to be
     alleging a claim only against Defendant A.
24
     3
       Defendants BANA and BAC Home Loans assert that on July 1, 2011,
25   BAC Home Loans merged into and became a part of BANA. ECF No. 96
26   at 1 n.1.
     4
27     The document is attached to the Complaint as Exhibit C, and
     therefore is a part of the Complaint for all purposes. See Fed.
28   R. Civ. P. 10(c).
                                     3
 1   “did not respond.”5     Complaint ¶ 28.      (2) Plaintiff alleges that
 2   on April 15, 2011, he sent another QWR to BAC Home Loans.          The
 3   QWR is attached as Exhibit D to the Complaint.           Defendant did not
 4   respond to this QWR in a timely manner.6          See Complaint ¶ 46.
 5   (3) Plaintiff alleges that on July 24, 2011, he sent a third QWR,
 6   this time to Bank of America, N.A. (“BANA”), who had become the
 7   servicer on the loan.      This QWR is attached as Exhibit Q to the
 8   Complaint.    Complaint ¶¶ 43 & 46; Exhibit Q to the Complaint (ECF
 9   No. 91-1) at 33.     BANA did not timely respond to this QWR.
10   Complaint ¶ 43.7
11         The Complaint goes on to allege that defendants’ conduct
12   “caused plaintiff actual damages and injuries … including in part
13   a detriment to plaintiff’s ability to sell or refinance his
14   home.”   Complaint ¶ 46 (emphasis in text).8
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17     Plaintiff alleges that several other defendants also did not
     respond. However, plaintiff does not allege that he sent a QWR
18   to them, nor does he allege any basis that would impose an obligation for
     those defendants to respond to a QWR that was not sent to them.
19
     6
      The Complaint alleges that defendants failed to respond timely
20   to any of the QWR’s plaintiff sent between August 2010 and
     October 2011. Complaint ¶ 46.
21
     7
22     Plaintiff further alleges that between August 2010 and October
     2011, he sent BAC Home Loans and BANA “over 10 specific QWR’s,”
23   none of which were responded to in a timely manner. Complaint
     ¶ 46. Plaintiff did not attach any of these other QWRs to the
24   Complaint, nor does he allege when he sent them, nor to which
     defendants, nor anything about the substance of the
25   communications, other than that they were QWRs.
26   8
       Plaintiff also alleged that defendants’ conduct caused him to
27   suffer “extreme emotional and physical stress and anxiety.”
     Complaint ¶ 44.
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 1        Defendants BANA and BAC Home Loans move to dismiss.9    They
 2   assert that, “save for one letter,” plaintiff “has not alleged
 3   the dates on which he sent each of his alleged QWR’s.”    BANA
 4   Motion To Dismiss (“BANA Motion”) (ECF No. 96) at 17.    There are
 5   two problems with this assertion.
 6        First, defendant does not address even that “one letter” –
 7   the July 24, 2011 letter.   See BANA Motion at 17 (“Plaintiff now
 8   alleges the date of only one such alleged letter, July 24, 2011,
 9   that he claims constitutes a QWR to the bank”).   RESPA does not
10   require that a loan servicer fail to respond to a slew of QWRs
11   before it will be found to have violated the law.    It states that
12   if one is sent, the loan servicer must respond to that one.      See
13   12 U.S.C. §§ 2605(e)(1)(A) (if a loan servicer “receives a
14   qualified written request from the borrower … the servicer shall”
15   acknowledge the letter within 5 days) (emphasis added),
16   2605(e)(2) (servicer must substantively respond to “any qualified
17   written request” within 30 days) (emphasis added).   Defendant
18   seems to argue that because plaintiff failed to allege the date
19   of each one of the QWR’s (even assuming this is a fatal pleading
20   error), the claim must be dismissed even as to those QWR’s where
21   the dates are alleged.   This court knows of no legal basis for
22   such an argument, nor has defendant provided any.
23        Second, plaintiff has specifically identified three
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25     The Magistrate Judge indicates that FHLMC also moved to
     dismiss. ECF No. 123 at 10. However, as best this court can
26   tell, FHLMC, which is apparently represented by counsel, has not
     answered, moved to dismiss, or otherwise responded to the
27   Complaint, although it has responded to plaintiff’s Objections to
     the Findings and Recommendations.
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                                      5
 1   communications he says are QWRs.    He specifies the dates they
 2   were sent and to whom they were sent.     They are, as described
 3   above, the August 17, 2010 letter, the April 15, 2011 letter, and
 4   the July 24, 2011 letter, and all three are attached as exhibits
 5   to the Complaint.    See Exhibits C, D & Q to the Complaint.10
 6          Defendants also move to dismiss on the ground that plaintiff
 7   “has failed to plead facts that establish actual damages as
 8   required by the statute,” citing 12 U.S.C. § 2605(f)(1)(A).
 9   Specifically, defendants argue for dismissal because plaintiff
10   “fails to provide any detail as to how the alleged QWR violation
11   has damaged him.”    BANA Motion at 17.   Defendants assert that:
12               Plaintiff only makes the general allegation
                 that that “[BANA’S] conduct has caused
13
                 plaintiff    countless     unnecessary   and
14               substantial actual costs, damages, fees and
                 injuries in fact …    Plaintiff has been and
15               continues to be subject to extreme and
                 physical stress and anxiety over all of the
16               events that occurred after the July 24, 2011
                 QWR.”
17

18   BANA Motion at 17 (citing Complaint ¶ 45).
19          This supposedly complete recitation of plaintiff’s alleged
20   damages ignores the very next paragraph of the complaint, which
21   alleges that plaintiff’s damages include “a detriment to
22   plaintiff’s ability to sell or refinance his home.”    See
23   Complaint ¶ 46.    Defendant nowhere asserts that this damage
24   allegation is not specific enough, or lacks causality, and the
25   court will not make those arguments on defendants’ behalf.11
26   10
       As for the remaining, unidentified letters, defendant can
27   simply ask for them, or ask about them, in discovery.

28   11
          The court is aware of the district court cases which seem to
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 1        In addition, plaintiff has specifically alleged three
 2   clearly identified instances where he sent a QWR to the loan
 3   servicer, and got no timely response to any of them.
 4   Accordingly, the Complaint alleges a “pattern or practice of
 5   noncompliance” sufficient to state a claim for statutory damages
 6   under RESPA.   See 12 U.S.C. § 2605(f)(1)(B) (“additional damages”
 7   are available “in the case of a pattern or practice of
 8   noncompliance with the requirements of this section”).
 9        In short, plaintiff alleges a violation of the Real Estate
10   Settlement Procedures Act (“RESPA”):
11             RESPA requires the servicer of a federally
               related mortgage loan to provide a timely
12
               written response to inquiries from borrowers
13             regarding the servicing of their loans.    12
               U.S.C. § 2605(e)(1)(A), (e)(2).       If the
14             servicer fails to respond properly to such a
               request, the statute entitles the borrower to
15             recover actual damages and, if there is a
               “pattern   or  practice   of  noncompliance,”
16             statutory damages of up to $1,000.        Id.
17             § 2605(f).

18   Medrano v. Flagstar Bank, FSB, 704 F.3d 661, 665 (9th Cir. 2012),

19   cert. denied, 133 S. Ct. 2880 (2013).

20        Defendant also asserts that the Complaint’s allegation of

21   damages resulting from stress and anxiety are “conclusory,” and

22   lacking in detail.   The court does not find the allegations to be

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     hold that the complaint must demonstrate a causal relationship
24   between the alleged damages and the RESPA violation (at least one
25   of which relies upon the Magistrate Judge’s decision in this
     case). See, e.g., Guidi v. Paul Financial LLC, 2014 WL 60253 at
26   *4 (N.D. Cal. 2014). It is not necessary to address the issue
     here, since plaintiff here does allege a causal relationship to a
27   specific harm. Moreover, plaintiff adequately alleges statutory
     damages, as discussed below.
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 1   conclusory.   To the contrary, plaintiff paints quite a clear
 2   picture.    Plaintiff found himself in a dispute with the Bank of
 3   America, and BAC Home Loans, the originator and servicers of his
 4   home mortgage, a dispute which he must have known could lead to
 5   him losing his home.    He wrote to the bank requesting
 6   information, and received no response, even though the bank was
 7   legally required to give him an acknowledgement and then a
 8   substantive response.   This failure to respond caused him
 9   “extreme emotional and physical stress and anxiety.”      There is
10   nothing “conclusory” about those allegations.   They set forth an
11   entirely plausible, factual sequence of events – with clear
12   causality between the violation and the damages – to which
13   defendant must now respond.12
14          B.   12 U.S.C. § 2609 and 24 C.F.R. § 3500.17.
15          The court adopts the findings and recommendation of the
16   Magistrate Judge that this portion of the first claim be
17   dismissed as to BANA, BAC Home Loans and Balboa, for lack of a
18   private right of action.   See ECF No. 123 at 18.
19   ////
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22   12
       Plaintiff also alleges that defendants’ conduct violates 12
23   U.S.C. § 2605(k), which requires, among things, that a servicer
     timely “respond to a borrower's requests to correct errors
24   relating to allocation of payments, final balances for purposes
     of paying off the loan, or avoiding foreclosure, or other
25   standard servicer's duties.” 12 U.S.C. § 2605(k)(1)(C).
26   Defendants, all of whom are represented by counsel, have not
     briefed or moved to dismiss this claim. Accordingly, the court
27   will not adopt the Magistrate Judge’s recommendation that it be
     dismissed.
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 1              II.   CLAIM TWO – TRUTH IN LENDING ACT (“TILA”)13
 2          Plaintiff alleges that on November 9, 2011, he called BANA,

 3   BAC Home Loans and Quality Loan Service Corp. (“QLS”), requesting

 4   the exact amount his mortgage was in arrears, and the payoff

 5   balance.    Complaint ¶ 60.   Plaintiff alleges that these

 6   defendants never responded, in violation of banking regulations

 7   providing that “no servicer shall … [f]ail to provide, within a

 8   reasonable time after receiving a request from the consumer … an

 9   accurate statement of the total outstanding balance that would be

10   required to satisfy the consumer’s obligation in full as of a

11   specified date.”14    12 C.F.R. § 226.36(c)(1)(iii).15

12          Plaintiff also alleges that BAC Home Loans delayed posting

13   plaintiff’s December 13, 2010 mortgage payment for eight days.

14   Complaint ¶ 61.    See 12 C.F.R. § 226.36(c)(1)(i) (“no servicer

15   shall … [f]ail to credit a payment to the consumer’s loan account

16   13
          See 15 U.S.C. § 1601, et seq., and 12 C.F.R. § 226.36(c)(1).
17   14
       The court notes that 15 U.S.C. § 1639g provides that “A
18   creditor or servicer of a home loan shall send an accurate payoff
     balance within a reasonable time, but in no case more than 7
19   business days, after the receipt of a written request for such
     balance from or on behalf of the borrower”).
20
     15
       The cited regulation is a part of “Regulation Z,” Subpart E,
21
     originally promulgated by the Board of Governors of the Federal
22   Reserve System “to implement the federal Truth in Lending Act.”
     See 12 C.F.R. § 226.1 (Regulation Z: authority, purpose and
23   coverage); Home Funds Direct v. Monroy (In re Monroy), 650 F.3d
     1300, 1301 (9th Cir. 2011) (“As authorized by TILA, on October 1,
24   2009, new 12 C.F.R. § 226.36(c)(1)(iii) went into effect (also
     known as part of ‘Regulation Z’),” and “The Federal Reserve Board
25   of Governors was authorized to promulgate Regulation Z under 15
26   U.S.C. § 1604(a)”). It appears that responsibility for enforcing
     Regulation Z now lies with the U.S. Consumer Financial Protection
27   Bureau (“CFPB”). See 76 Fed. Reg. 79,768 (December 22, 2011)
     (effective December 31, 2011).
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                                        9
 1   as of the date of receipt”).16    Plaintiff alleges that this
 2   posting delay caused him to be liable for a late fee of $48.43.
 3   Complaint ¶ 61.
 4        A.   “Vague,” “Incomplete” and “Generic” Allegations.
 5        Defendants BANA and BAC Home Loans move to dismiss both
 6   parts of this claim because the allegations “are vague and
 7   incomplete,” ECF No. 96 at 20, and because the Complaint contains
 8   only “generic allegations of a statutory violation, unsupported
 9   by facts,” ECF No. 96 at 19.     In fact, plaintiff’s allegations of
10   defendants’ Regulation Z violations are clear and very specific.
11        Plaintiff alleges that on a specified date, November 9,
12   2011, he called specified defendants, “both QLS and [BANA],” and
13   requested a specified piece of information, namely “the payoff
14   amount necessary to redeem his home, i.e. ‘an accurate statement
15   of the total outstanding balance.’”      Complaint ¶ 60.   This
16   failure to respond is alleged to violate Regulation Z, which
17   makes it unlawful for those defendants to fail to provide the
18   above-specified information in a timely manner, once requested.
19   See 12 C.F.R. § 226.36(c)(1)(iii).
20        Plaintiff further alleges that on a specified date, December
21   13, 2010, “defendant [BAC Home Loans] received plaintiff’s
22   payment” of a specified amount, namely $968.57.       Complaint ¶ 61.
23   Plaintiff further alleges that the payment “was for the full
24   monthly amount due on the loan.”       Id.   Plaintiff goes on to
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     16
26     The court notes that 15 U.S.C. § 1639f provides that “no
     servicer shall fail to credit a payment to the consumer's loan
27   account as of the date of receipt.”
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                                       10
 1   allege that BAC Home Loans delayed posting that payment until a
 2   specified date, namely, December 21, 2010, eight days later.17
 3   Id.   The Complaint specifies the legal provision that this
 4   conduct violates, namely, 12 C.F.R. § 226.36(c)(i), which makes
 5   it unlawful for a servicer to “[f]ail to credit a payment to the
 6   consumer’s loan account as of the date of receipt.”
 7         Defendants do not explain what is “vague,” “incomplete” or
 8   “generic” about these allegations, or what additional information
 9   they would need in order to understand and respond to the claim.
10   This court finds that there is nothing vague, incomplete or
11   generic about these allegations.
12         B.    Failure To Provide Pay-Off Balance.
13               1.   Defendant QLS.
14         The court adopts the recommendation of the Magistrate Judge
15   that the TILA/Regulation Z claim against QLS be dismissed, but
16   will do so without leave to amend.     This court writes separately
17   to set out its reasoning.
18         Defendant QLS asserts that it cannot be liable for the
19   failure to provide a payoff balance because it is not a “lender,”
20   citing Chow v. Aegis Mortg. Corp., 286 F. Supp. 2d 956 (N.D.
21   Ill. 2003) (“The only parties who can be liable for Truth in
22   Lending Act (“TILA”) violations are the original creditor, 15
23   U.S.C. § 1640, and assignees of that creditor, 15 U.S.C. §
24   1641”).    QLS does not mention 12 C.F.R. § 226.36(c)(1), upon
25
     17
26     The Complaint contains an error that has the delay extending to
     “December 21, 2012.” Defendants’ brief makes clear that they
27   understand that this was just an error, and that the payment was
     allegedly delayed 8 days.
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                                       11
 1   which plaintiff’s claim rests, which specifically addresses
 2   “[s]ervicing practices,” and which specifically prohibits the
 3   “servicer” from failing to provide the payoff balance to the
 4   borrower within a reasonable time after being asked for it.    See
 5   12 C.F.R. § 226.36(c)(1)(iii).
 6        QLS does not explain why it is exempted from liability for
 7   violations of Regulation Z that are specifically addressed to it
 8   as a servicer.18   Rather, it has simply ignored the plain language
 9   of the Complaint’s allegations, leaving it to the Magistrate
10   Judge and this court to figure out, without any input from the
11   parties, whether plaintiff may have a claim against a servicer
12   under the plain language of Regulation Z.
13        Nevertheless, as QLS does argue, the governing statute here,
14   TILA, provides for civil liability only against the creditor and
15   its assignee.   See 15 U.S.C. §§ 1640(a) (“any creditor who fails
16   to comply with any requirement imposed under this part … is
17   liable”) (emphasis added) & 1641 (liability of assignees of
18   creditors).19   This court knows of no principle that would permit
19
     18
       The court notes that the district courts are divided over
20   whether there is an independent private right of action under
     Regulation Z. See New Mexico ex rel. King v. Capital One Bank
21
     (USA) N.A., ___ F. Supp. 2d ___, 2013 WL 5944087 at *7
22   (D.N.M. 2013) (finds private right of action); Purcell v.
     Universal Bank, N.A., 2003 WL 1962376 at *3 n.2 (E.D. Pa. 2003)
23   (same); Runkle v. Federal Nat. Mortg. Ass'n, 905 F. Supp. 2d
     1326, 1332 (S.D. Fla. 2012) (same). Contra, Kievman v. Federal
24   Nat. Mortg. Ass'n., 901 F. Supp. 2d 1348, 1353 (S.D. Fla. 2012)
     (no private right of action).
25
     19
26     At least one court has resolved the apparent dilemma created by
     a regulation that imposes an obligation on the servicer, under a
27   statute that imposes a liability only against the creditor, by
     saying that the creditor is liable for the servicer’s violation.
28   See Runkle, 905 F. Supp. 2d at 1332-33 (creditor’s assignee may
                                     12
 1   an implementing regulation to create a liability that is broader
 2   than, or not even contemplated by, the governing statute.    To the
 3   contrary,
                 The   rulemaking    power   granted    to  an
 4               administrative   agency   charged   with  the
 5               administration of a federal statute is not
                 the power to make law.    Rather, it is “‘the
 6               power to adopt regulations to carry into
                 effect the will of Congress as expressed by
 7               the statute.’”
 8

 9   Ernst & Ernst v. Hochfelder, 425 U.S. 185, 212-214 (1976)

10   (quoting Dixon v. United States, 381 U.S. 68, 74 (1965)).

11   Therefore, even if the regulation creates a private right of

12   action, “its scope cannot exceed the power” granted to the Board

13   of Governors (or the CFPB), by the governing statute.   Ernst, 525

14   U.S. at 214.

15        Accordingly, this claim will not lie against QLS, which is

16   alleged to be a loan servicer, not a creditor or lender.20    See

17   Complaint ¶ 10 (QLS “is in the business of acting as a debt

18   collector, loan servicer, and foreclosure trustee”).

19               2.   Defendants BANA and BAC Home Loans.
20        Defendants BANA and BAC Home Loans argues that the claim is
21   vague, incomplete and generic.   See ECF No. 96 at 19-20.    As
22   discussed above, the allegations are sufficiently specific.       They
23   also argue that the claim is barred by the statute of limitations
24

25   be held liable for the loan servicer’s RESPA violation, otherwise
     the loan servicer could violate Regulation Z with impunity,
26   leaving both it and the creditor immune from liability).
     20
27     Since the claim must be dismissed, there is no need for the
     court to address QLS’s statute of limitations argument.
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                                      13
 1   since the loan documents were signed in 2001.    However, the claim
 2   is based upon conduct alleged to have occurred in 2010 and 2011.
 3   The limitations argument fails.
 4        C.      Failure To Credit Payment – BAC Home Loans.
 5        Defendant BAC Home Loans asserts that it is not liable for
 6   the alleged failure to post plaintiff’s December 13, 2010
 7   mortgage payment in a timely manner, because the claim is “time
 8   barred after December 2011.”    Defendant makes two limitations
 9   arguments.    First, it asserts that the TILA and Regulation Z
10   claim is time-barred because the claim is based upon loan
11   documents that were signed in 2001.    The court adopts the
12   Magistrate Judge’s findings and recommendation that the Complaint
13   not be dismissed on this basis.    See ECF No. 123 at 23-24.
14        Second, defendant asserts that the Second Amended Complaint,
15   which first explicitly asserted a claim under TILA and
16   Regulation Z, was filed in 2012, more than one year after the
17   delayed posting.21    Plaintiff’s original complaint, however, was
18   filed on November 7, 2011, within the one-year limitations
19   period.   See ECF No. 1.   That complaint alleges that “the payment
20   he [plaintiff] made on December 10, 2010, was received” by BAC
21   Home Loans, but that defendants “specifically held the December
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23   21
       BANA and BAC Home Loans also assert that the claim is
     conclusory and internally inconsistent. There is no real
24   explanation of this argument and frankly, the court does not
25   understand it. Plaintiff clearly alleges that defendants did not
     post his December 2010 payment for eight days, rather than
26   posting it immediately as required by Regulation Z. As a result
     of their own delay, defendants charged plaintiff a late fee. The
27   court does not view these allegations as being conclusory,
     unclear or internally consistent.
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                                       14
 1   10 payment and did not credit it until December 21, 2010.”    ECF
 2   No. 1 ¶ 67 (emphasis in text).    It goes on to allege that “this
 3   was intentionally done … to produce a knowingly false and
 4   inflated picture of Plaintiff’s timely payment under the
 5   contract.”    Id. (emphases in text).   It concludes this allegation
 6   by stating that Defendants’ actions “violated Federal and State
 7   debt collection laws ….”    Id.   Thus, the original complaint of
 8   November 2011 expressly sets out the transactions and conduct
 9   that give rise to plaintiff’s TILA and Regulation Z claim.
10        Under these circumstances, the “relation back” doctrine
11   applies.   Fed. R. Civ. P. 15(c)(1)(B) (“An amendment to a
12   pleading relates back to the date of the original pleading when …
13   the amendment asserts a claim or defense that arose out of the
14   conduct, transaction, or occurrence set out – or attempted to be
15   set out – in the original pleading”).22    The pro se plaintiff’s
16   failure to explicitly mention the statute or regulation does not
17   prevent him from taking advantage of the relation back doctrine.
18        The claim is not time-barred.23
19                III. CLAIM THREE – FDCPA & ROSENTHAL ACT
20        A.      Fair Debt Collection Practices Act (“FDCPA”)
21        Plaintiff alleges that BANA, BAC Home Loans and QLS violated
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     22
23     Accordingly, the court does not adopt the Magistrate Judge’s
     findings or recommendation on this point.
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     23
       Defendants also assert that the claim based upon their alleged
25   failure to provide a payoff statement pursuant to plaintiff’s
26   November 9, 2011 request, is barred by plaintiff’s “failure to
     allege tender.” The “tender” defense is frivolous, as it has
27   nothing to do with this case, inasmuch as the TILA claim does not
     seek rescission.
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                                       15
 1   the federal Fair Debt Collection Practices Act (“FDCPA”), 15
 2   U.S.C. §§ 1692e and 1692g.
 3        Section 1692e prohibits “debt collectors” from using any
 4   “false, deceptive, or misleading representation or means in
 5   connection with the collection of any debt.”       15 U.S.C. §
 6   1692e(1).   Among other things, debt collectors may not falsely
 7   represent or imply “that any individual is an attorney or that
 8   any communication is from an attorney.”       15 U.S.C. § 1692e(3).
 9   They also may not falsely represent “the character, amount, or
10   legal status of any debt.”     Id., § 1692e(2)(A).
11        Section 1692g requires a debt collector to provide, upon
12   request, “the name and address of the original creditor, if
13   different from the current creditor.”       15 U.S.C. § 1692g.
14               1.     BANA and BAC Home Loans.
15        Defendants BANA and BAC Home Loans assert that they are
16   categorically exempt from the FDCPA because they are not “debt
17   collectors.”     The FDCPA exempts from its provisions the
18   “originator” of a debt the person is trying to collect.       15
19   U.S.C. § 1692a(6)(F)(ii); De Dios v. International Realty &
20   Investments, 641 F.3d 1071, 1074 (9th Cir. 2011) (“the person who
21   originated the debt, such as a creditor to whom the debt was
22   originally owed, is not considered a debt collector”).       The
23   Complaint alleges that BANA is the originator of the mortgage at
24   issue here.      See Complaint ¶ 16.    Accordingly, the court adopts
25   the Magistrate Judge’s finding and recommendation that BANA be
26   dismissed from the FDCPA claims because it is categorically
27   exempt as a “creditor.”
28
                                        16
 1        The court adopts the Magistrate Judge’s recommendation that
 2   BAC Home Loans also be dismissed from the FDCPA claim, but not
 3   because BAC Home Loans is categorically exempt from the FDCPA
 4   based upon its status as a mortgage loan servicer.        According to
 5   the Ninth Circuit, the legislative history shows that “mortgage
 6   service companies” are only exempt “‘so long as the debts were
 7   not in default when taken for servicing.’”        De Dios, 641 F.3d at
 8   1075 n.3.
 9        In fact, the FDCPA specifically exempts a person collecting
10   a debt “which was not in default at the time it was obtained by
11   such person.”      15 U.S.C. § 1692a(6)(F)(iii); De Dios, 641 F.3d at
12   1076 (“International Realty is exempt from the definition of a
13   ‘debt collector’ under § 1692a(6)(F)(iii) because it obtained the
14   right to collect De Dios's rent before the debt was contractually
15   overdue”).    The Complaint alleges that BAC Home Loans became the
16   servicer of the mortgage “in November 2009,” before any alleged
17   arrearage occurred.        Complaint ¶ 21.   Accordingly, BAC Home
18   Loans, whether or not it is a “debt collector,” is exempt from
19   plaintiff’s FDCPA claims.24
20                2.     QLS.
21        QLS asserts that “Plaintiff fails to support his conclusory
22   statement that Quality is a debt collector within the meaning of
23   the FDCPA.”       QLS Motion at 13.   The FDCPA defines a “debt
24   collector to be:
25   24
       The court notes, however, that BAC Home Loans’ correspondence,
26   attached as exhibits to the Complaint, states that “BAC Home
     Loans Service, LP is required by law to inform you that this
27   communication is from a debt collector.” See Exh. H (ECF
     No. 91-1) at 41.
28
                                           17
 1             any person who uses any instrumentality of
               interstate commerce or the mails in any
 2             business the principal purpose of which is
               the collection of any debts, or who regularly
 3
               collects or attempts to collect, directly or
 4             indirectly, debts owed or due or asserted to
               be owed or due another.
 5

 6   15 U.S.C. § 1692a(6).   The Complaint alleges that QLS “is in the

 7   business of acting as a debt collector.”    Complaint ¶ 10.   The

 8   Complaint also alleges that QLS is a “‘debt collector’” as

 9   defined by 15 U.S.C. § 1692A(6), and that it is “not exempt from

10   the requirements of the FDCPA.”    Complaint ¶ 64.   In addition,

11   the Complaint alleges that QLS was “trying to collect a debt,”

12   namely, the mortgage at issue here, and that some of the

13   communications with QLS took place over the telephone, an

14   instrument of interstate commerce.     Complaint ¶¶ 60 (phone call

15   to QLS), 67 (QLS is trying to collect a debt).

16        These allegations, standing alone, are sufficient to allege

17   that QLS is a debt collector within the meaning of the FDCPA, for

18   purposes of this dismissal motion.25    The Complaint goes further,

19   however, by attaching a communication from QLS to plaintiff.    See

20

21   25
       There are 9 separate exceptions to the definition of “debt
22   collector” set forth at 15 U.S.C. § 1692a(6)(A)-(E) and
     F(i)-(iv). Plaintiff need not set forth facts showing that QLS
23   is not exempt pursuant to each and every one of these exceptions,
     as they are in the nature of affirmative defenses. Accord, Scott
24   v. Jones, 964 F.2d 314, 316 (4th Cir. 1992) (“Jones asserted the
     affirmative defense that he was not a “debt collector” as defined
25   in the FDCPA, and therefore was not in violation of that
26   statute”); Murphy v. Stephens & Michaels Associates, Inc. 2011
     WL 1465761 at *1 (S.D. Cal. 2011) (“whether Defendant falls
27   within an exception to the ‘debt collector’ definition under 15
     U.S.C. Section 1692a is an affirmative defense”).
28
                                       18
 1   Exhibit P (“Notice of Trustee’s Sale”).   The communication
 2   states, in bold, capital letters:
 3              THIS NOTICE IS SENT FOR THE PURPOSE OF
                COLLECTING A DEBT.   THIS FIRM IS ATTEMPTING
 4              TO COLLECT A DEBT ON BEHALF OF THE HOLDER AND
 5              OWNER OF THE NOTE. ANY INFORMATION OBTAINED
                BY OR PROVIDED TO THIS FIRM OR THE CREDITOR
 6              WILL BE USED FOR THAT PURPOSE.

 7   Exhibit P (ECF No. 91-1) at 66.26

 8        QLS goes on to argue that the Complaint fails to allege that

 9   it engaged in any “unfair practices.”   QLS Motion at 13.   The

10   Complaint, in fact, alleges that QLS made a false, deceptive, or

11   misleading representation in connection with its efforts to

12   collect a debt, in violation of 15 U.S.C. § 1692e.   Specifically,

13   the Complaint alleges that QLS falsely denied that it could give

14   plaintiff information about the debt, and also, that “‘only the

15   lender could postpone the sale.’”    Complaint ¶ 36 (emphasis in

16   text).   Yet, when plaintiff called the lender that same day, the

17   lender’s employee told plaintiff that he had to get the

18   information from QLS, and that “‘only the trustee [QLS] could

19   postpone the sale.’”   Complaint ¶ 37 (emphasis in text).   There

20   is nothing conclusory or vague about these allegations, which

21   plainly point to an unfair credit collection practice.27

22

23   26
       The court is not ruling on whether this admission is
     conclusive. However, the admission is certainly sufficient to
24   put the burden on QLS to establish why it is not a debt
25   collector.
     27
26     The court does not adopt the Magistrate Judge’s findings and
     recommendation that FHLMC be dismissed from the FDCPA claim,
27   because FHLMC, which is represented by counsel, has not moved to
     dismiss the claim.
28
                                     19
 1        Accordingly, the claim alleging that QLS violated 15 U.S.C.
 2   § 1692e(2)(A) & (3) will not be dismissed.
 3        B.   Rosenthal Fair Debt Collection Practices Act.
 4        Plaintiff alleges that BANA violated the Rosenthal Fair Debt
 5   Collection Practices Act (“Rosenthal Act”), Cal. Civ. Code
 6   §§ 1788, et seq., by falsely referring to QLS, the entity it was
 7   referring plaintiff to in order to resolve the foreclosure, as
 8   “the attorneys.”   Complaint ¶ 68.
 9        BANA moves to dismiss solely on the grounds that it is
10   exempt from the Rosenthal Act because it is a mortgage “lender[]
11   and/or servicer[].”   As the Magistrate Judge points out, BANA
12   incorrectly relies on the federal statute to argue that it is
13   exempt under the state law.   BANA cites no provision of the
14   Rosenthal Act where this asserted exemption can be found, and
15   cites no cases decided under the Act that stand for this
16   proposition.28   BANA has failed to show that it is exempt under
17   the Rosenthal Act.
18        Plaintiff alleges that BANA is a “debt collector” pursuant
19   to Cal. Civ. Code 1788.2 of the Rosenthal Act.    That provision
20   defines “debt collector” broader than the FDCPA does, by
21   including persons collecting their own debts, whereas such
22   persons are expressly exempted under the FDCPA.   Compare Cal.
23

24   28
       BANA cites Caballero v. Ocwen Loan Serv., 2009 WL 1528128 at *1
25   (N.D. Cal. 2009) and Scott v. Wells Fargo Home Mortg. Inc., 326
     F. Supp. 2d 709, 718 (E.D. Va.), aff’d mem., 67 Fed. Appx. 238
26   (4th Cir. 2003), both of which are about the FDCPA, not the
     Rosenthal Act. It also cites Ines v. Countrywide Home Loans,
27   Inc., 2008 WL 2795875 *3 (S.D. Cal. 2008) which defines “debt
     collectors” in the context of the FDCPA, not the Rosenthal Act.
28
                                      20
 1   Civ. Code § 1788.2(c) (“The term “debt collector” means any
 2   person who, in the ordinary course of business, regularly, on
 3   behalf of himself or herself or others, engages in debt
 4   collection”) (emphasis added), with 15 U.S.C. § 1692a(6) (“The
 5   term ‘debt collector’ means any person who … regularly collects
 6   or attempts to collect … debts owed or due or asserted to be owed
 7   or due another”) (emphasis added).
 8        Accordingly, the court adopts the Magistrate Judge’s finding
 9   that BANA is not exempt under the Rosenthal Act.   See ECF No. 123
10   at 31.   However, the court does not adopt the recommendation that
11   the claim be dismissed for lack of specificity.    As noted above,
12   the Complaint specifically alleges that BANA falsely referred to
13   QLS as “the attorneys,” conduct that is expressly made unlawful
14   by the Rosenthal Act.   See Cal. Civ. Code § 1788.13(b)
15   (prohibiting a debt collector from making “[a]ny false
16   representation that any person is an attorney or counselor at
17   law”).
18               IV.   CLAIM 4 – CAL. CIV. CODE § 2954(a)(1)
19        Plaintiff alleges that BAC Home set up an illegal escrow
20   account against his mortgage.29   California law provides that:
21
                [n]o … account for payment of … insurance
22              premiums or other purposes relating to the
                property shall be required as a condition of
23              a … loan secured by a deed of trust or
                mortgage   on   real   property [except   in
24              specified situations].
25
     29
26     The Complaint is clear that BAC Home is responsible for this
     alleged conduct, but it is unclear whether any of the other
27   defendants mentioned there are responsible. The court interprets
     the claim to be against BAC Home only.
28
                                       21
 1   Cal. Civ. Code § 2954(a)(1).    It further provides that any such
 2   account “established in violation” of Section 2954(a)(1) “is
 3   voidable, at the option of the purchaser or borrower.”
 4   Id.
 5           The court adopts the Magistrate Judge’s findings and
 6   recommendation that Claim 4 not be dismissed, and it will proceed
 7   against BAC Home only.    See ECF No. 123 at 32-34.
 8        V. CLAIM 5 – FRAUD, NEGLIGENT MISREPRESENTATION & CONSPIRACY
 9           A.   Fraud at the closing.
10                “The elements of fraud, which give rise to
                  the    tort    action   for    deceit,    are
11
                  (a) misrepresentation (false representation,
12                concealment, or nondisclosure); (b) knowledge
                  of falsity (or ‘scienter’); (c) intent to
13                defraud,    i.e.,    to   induce    reliance;
                  (d) justifiable reliance; and (e) resulting
14                damage.” (5 Witkin, Summary of Cal.Law (9th
                  ed. 1988) Torts.
15

16   Lazar v. Superior Court, 12 Cal. 4th 631, 638 (1996).
17           Plaintiff alleges that BANA and BAC Mortgage committed fraud
18   in connection with the creation of his mortgage, at the end of
19   January 2001.30    Plaintiff alleges that he refused to go forward
20   with the closing unless BANA agreed that no “escrow account”
21   would ever be placed against the property (other than the initial
22   escrow required by law since his down-payment was under 20% of
23   the purchase price).31    Complaint ¶¶ 73 & 81 (“Plaintiff stopped
24
     30
       This claim is alleged only against BANA and BAC Mortgage, as
25   they are the only defendants alleged to have “tricked” plaintiff
26   into signing the modified documents “knowing full well that they
     were not going to honor the modified terms regarding any future
27   escrow account.” Complaint ¶ 86.

28   31
          The initial escrow account was closed after the home was re-
                                       22
 1   the entire purchase of the property at his final closing
 2   paperwork signing on January 30, 2001 and was ready and willing
 3   to cancel it had [BANA], BAC Mortgage authorized employees, not
 4   agreed to his demand of ‘absolutely no escrow accounts ever for
 5   hazard insurance or property taxes’”).    The Complaint alleges
 6   that this was an oral agreement that was reduced to a “written
 7   mutual agreement” at the closing.    Complaint ¶ 73.
 8           The Complaint further alleges that BANA (through its agent,
 9   Susan Birge), had plaintiff make changes to the “closing
10   paperwork” before signing, specifically, “forms BA 174 and
11   BA084,” assuring him that the changes to those documents would
12   have the effect that he wanted, namely, it would prevent any
13   future escrow account from being placed against the mortgage.
14   Complaint ¶¶ 82-83.    Plaintiff alleges that in reliance upon
15   BANA’s representations, he went forward with the closing, even
16   though he “could easily have gone to another lender” if BANA had
17   not agreed to the modifications prohibiting future escrow
18   accounts.    Complaint ¶ 83.
19           The Complaint further alleges that BANA’s statements were
20   misrepresentations, because it “had no intention” of abiding by
21   the representations it had made regarding the promise of “no
22   escrow account ever for the remainder of the loan.”    Complaint
23   ¶ 82.    Plaintiff alleges that he did not discover the
24   misrepresentation until July 2010, when he discovered that BANA
25   and others had “created an escrow account on Plaintiff’s loan”
26   the month before.    Complaint ¶¶ 84 & 86.   Finally, plaintiff
27

28   appraised.    See Complaint ¶¶ 20 & 21.
                                       23
 1   alleges that the creation of this escrow account was the start of
 2   all the harm that he complains of now.
 3        BANA moves to dismiss this claim because (1) it is barred by
 4   the three-year statute of limitations, and (2) it is not specific
 5   enough.
 6             1.     Limitations.
 7        Fraud claims under California law are subject to a three-
 8   year statute of limitations.     Cal. Code Civ. P. § 338(d).
 9   However, the fraud claim “is not deemed to have accrued until the
10   discovery, by the aggrieved party, of the facts constituting the
11   fraud or mistake.”   Id.   Plaintiff specifically alleges that he
12   did not discover BANA’s deceit until July 2010, when the escrow
13   account – which BANA promised in 2001 would never be created –
14   was created.   Complaint ¶ 84.   Defendant offers no reason the
15   court should reject plaintiff’s assertion that the limitations
16   period is tolled until he discovers the fraud, and the court
17   knows of none.
18             2.     Specificity.
19        As recounted above, the complaint sets forth with
20   particularity exactly what misrepresentations plaintiff is
21   challenging, namely, that no escrow account (other than the
22   initial PMI escrow account) would ever be placed against
23   plaintiff’s mortgage account.    Moreover, those allegations set
24   forth all of the elements of a fraud claim.
25        The fraud claim is not subject to dismissal, and will
26   proceed against BANA and BANA Mortgage.32
27
     32
       Accordingly, the court does not adopt the Magistrate Judge’s
28   findings or recommendations on this issue. See ECF No. 123
                                     24
 1           B.   Fraud, Negligent Representation and Deceit in Loan
                  Modification Activities.
 2

 3           Plaintiff alleges that in 2010 and 2011, defendant BANA and
 4   BAC Home Loans, and others, acting through their agent, defendant
 5   Home Retention Group (“HRG”), created a false paper trail
 6   relating to his supposed request for a loan modification through
 7   the federal Home Affordable Mortgage Program (“HAMP”) program.
 8   Plaintiff denies that he ever applied for loan modification.
 9           Specifically, in April or May 2011, HRG sent plaintiff a
10   letter falsely stating that plaintiff “had sent in their loan
11   modification package for the ‘HAMP,’ that he was seeking a home
12   loan modification and was asking for assistance.”      Complaint
13   ¶ 91.    On June 28, 2011, BAC Home Loans sent plaintiff a letter
14   falsely stating that it had reviewed plaintiff’s “request for a
15   loan modification” under HAMP, even though plaintiff had never
16   sent in such a request.     Complaint ¶ 94.    That letter also stated
17   that plaintiff’s supposed request “was denied because he had not
18   sent in the requested documents.”    Id.   On July 1, 2011, BANA
19   sent plaintiff a letter falsely stating that it had received
20   plaintiff’s “request for workout assistance,” even though
21   plaintiff had never requested assistance.      Complaint ¶ 97.
22   Plaintiff alleges that defendants sent similar false letters to
23   the HAMP administrator.33    Complaint ¶ 95.
24           According to plaintiff, defendants did all this to collect
25   money from plaintiff that he did not owe, and to create a false
26
     at 36-37.
     33
27      This would serve as the predicate offenses for plaintiff’s RICO
     claims, since if true, this conduct violates 18 U.S.C. § 1001
28   (false statements).
                                     25
 1   impression that they had complied with all guidelines permitting
 2   them to foreclose.   Complaint ¶ 89-97.   As a result, plaintiff
 3   alleges, plaintiff is now disqualified from applying for a loan
 4   modification through HAMP.   Complaint ¶ 96.
 5        Defendants move to dismiss based on the statute of
 6   limitations, since the loan was issued in 2001.    This is no basis
 7   for dismissal, as the basis of the alleged fraud claim is conduct
 8   that took place in 2010 and 2011.
 9        Defendants also move to dismiss asserting that the Complaint
10   is not “specific enough” under Fed. R. Civ. P. 9(b), governing
11   fraud allegations.   This court finds that the allegations are
12   sufficiently specific to allow defendants to defend themselves.
13        However, the Complaint on its fact does not state a claim
14   for fraud or misrepresentation.    An essential element of this
15   claim is “deceit,” that is, the victim of the fraud must be
16   deceived, and take action (justifiable reliance) based upon that
17   deceit.   Here, plaintiff alleges that he knew that these letters
18   were false, thus he was never deceived.     Moreover, he does not
19   allege that he justifiably relied upon the supposed truth of the
20   communications.   The claim for negligent misrepresentation also
21   requires allegations that the victim was deceived and justifiably
22   relied on the deception.
23        This portion of the fraud claim will be dismissed for
24   failure to state a claim.
25        C.    Conspiracy – The HAMP Program.
26        Plaintiff alleges that BANA, BAC Home Loans and FHLMC
27   conspired in the creation of the false paper trail relating to
28
                                       26
 1   the HAMP program, discussed above.     This court has already found
 2   that there was no viable claim for fraud or misrepresentation
 3   against BANA, the only defendant charged with fraud.     Therefore,
 4   there can be no claim for civil conspiracy against anyone who
 5   allegedly conspired with BANA to inflict a tort that never
 6   occurred.
 7               There   is   no   separate   tort   of    civil
                 conspiracy.      The   significance    of   the
 8
                 allegation is to hold each member of the
 9               conspiracy liable as a joint tortfeasor.
                 This joint liability does not accrue unless a
10               wrongful act is carried out and damage
                 results.
11

12   Robert H. Jacobs, Inc. v. Westoaks Realtors, Inc., 159 Cal.

13   App. 3d 637, 645 (2nd Dist. 1984) (emphasis added).

14          The claim for conspiracy will therefore be dismissed in its

15   entirety, for failure to state a claim.

16                     VI.   CLAIM 6 – BREACH OF CONTRACT
17               [T]he elements of a cause of action for
                 breach of contract are (1) the existence of
18               the contract, (2) plaintiff's performance or
                 excuse for nonperformance, (3) defendant's
19               breach, and (4) the resulting damages to the
20               plaintiff.
            Oasis West Realty, LLC v. Goldman, 51 Cal. 4th 811, 821
21
     (2011).   Plaintiff alleges that BANA breached the contract (the
22
     Deed of Trust) by (1) creating an “unlawful escrow account on
23
     Plaintiff’s Mortgage loan,” and (2) failing to credit his
24
     payments in a timely manner.
25
     ////
26
     ////
27
     ////
28
                                       27
 1        A.     BANA and BAC Home Loans.
 2        Defendants seek dismissal, asserting that plaintiff failed

 3   to allege his own performance (and indeed, that he alleged his

 4   own non-performance), and failed to allege defendant’s breach.

 5        As for plaintiff’s own performance, it appears that

 6   plaintiff’s obligation to have a homeowner’s insurance policy

 7   arose in May 2001, when plaintiff took out a second mortgage on

 8   his home.     See Complaint ¶ 23.   It further appears that for nine

 9   (9) years, May 2001 until May 2010, BANA acquiesced in

10   plaintiff’s failure to obtain insurance – or at least, his

11   failure to produce it – finally demanding it in May 2010.     Id.

12   Plaintiff accordingly alleges that defendant has waived this

13   provision of the Deed of Trust.     Thus, while plaintiff has not

14   alleged complete performance, he has alleged an excuse for non-

15   performance or waiver of performance.     Defendant does not address

16   the allegation of waiver, and the court will not reject it on its

17   own initiative.

18        Defendants assert that plaintiff failed to allege breach.

19   That is not so.    Plaintiff alleges that a written modification to

20   the Deed of Trust – which he has not attached to the complaint –

21   contains an agreement that BANA would never create an escrow

22   account against his mortgage, other than the initial PMI escrow

23   account.    He further alleges that in breach of that written

24   agreement, defendant created an escrow account against his

25   mortgage.34

26   34
       The court therefore does not adopt the Magistrate’s finding
27   that plaintiff is alleging the breach of an oral contract. The
     modified contract is allegedly written, although apparently, it
28   has yet to be produced.
                                     28
 1        It does seem that plaintiff’s allegation brushes right up
 2   against the “plausibility” standard of Iqbal.   It is hard to
 3   believe that a lender would ever agree to such a thing, and it is
 4   suspicious that plaintiff has never produced this written
 5   modification.35   However, it seems to the court that plaintiff’s
 6   allegations are merely improbable, rather than implausible, and
 7   therefore they will survive dismissal.
 8             [s]ome improbable allegations might properly
               be disposed of on summary judgment, but to
 9
               dismiss them as frivolous without any factual
10             development is to disregard the age-old
               insight that many allegations might be
11             “strange, but true; for truth is always
               strange, Stranger than fiction.” Lord Byron,
12             Don Juan, canto XIV, stanza 101 (T. Steffan,
               E. Steffan & W. Pratt eds. 1977)).
13

14   Denton v. Hernandez, 504 U.S. 25, 33 (1992).

15        B.   QLS and Balboa.
16        QLS and Balboa move to dismiss because plaintiff has not

17   alleged that they were party to any contract with plaintiff.

18

19   35
       Defendant notes that plaintiff has not attached the modified
20   documents to the complaint. If this matter were being litigated
     in a California state court, the failure to set forth the exact
21   language of the breached contract, or otherwise attached the
     contract, might be fatal. See Harris v. Rudin, Richman & Appel,
22   74 Cal. App. 4th 299, 307 (2nd Dist. 1999) (“If the action is
     based on alleged breach of a written contract, the terms must be
23   set out verbatim in the body of the complaint or a copy of the
     written agreement must be attached and incorporated by
24
     reference”). However, this matter is in federal court, where
25   notice pleading rules govern. See Boland, Inc. v. Rolf C. Hagen
     (USA) Corp., 685 F. Supp. 2d 1094, 1102 (E.D. Cal. 2010)
26   (Karlton, J.) (addressing pleading requirements for breach of
     contract claim: “California pleading requirements do not apply in
27   federal court”).
28
                                      29
 1   That is correct, and the court accordingly adopts the Magistrate
 2   Judge’s findings and recommendations that the claim be dismissed
 3   against QLS and Balboa.    See ECF No. 123 at 39.
 4                           VII. DECLARATORY RELIEF
 5
               “To qualify for declaratory relief, [a party]
 6             would   have   to   demonstrate   its    action
               presented two essential elements: ‘(1) a
 7             proper subject of declaratory relief, and
               (2) an     actual    controversy     involving
 8             justiciable   questions   relating    to   [the
               party's] rights or obligations.’”
 9

10   Jolley v. Chase Home Finance, LLC, 213 Cal. App. 4th 872, 909
11   (1st Dist. 2013) (quoting Wilson & Wilson v. City Council of
12   Redwood City, 191 Cal. App. 4th 1559, 1582 (2011)).
13        Plaintiff seeks a declaration determining the respective
14   rights of the parties.    Defendant seeks to dismiss solely on the
15   grounds that it is duplicative of the relief he seeks from the
16   lawsuit as a whole.   It does appear that “this cause of action is
17   redundant of [plaintiff’s] other claims,” and will be dismissed
18   for that reason.   Jolley, 213 Cal. App. 4th at 909.     However, the
19   request for declaratory relief remains in the Complaint as one of
20   the requested elements of relief.       See Complaint page 47.
21
                                VIII.   ACCOUNTING
22        Plaintiff seeks an accounting of moneys paid and due on the
23   mortgage transaction.
24
               A cause of action for an accounting requires
25             a showing that a relationship exists between
               the plaintiff and defendant that requires an
26             accounting, and that some balance is due the
               plaintiff that can only be ascertained by an
27             accounting.
28
                                        30
 1   Teselle v. McLoughlin, 173 Cal. App. 4th 156, 179 (3rd
 2   Dist. 2009).
 3        Defendants seek dismissal solely on the grounds that
 4   plaintiff has not alleged that any sums are due to him that would
 5   be the subject of an accounting.         ECF No. 69 at 28-29.   That is
 6   not so.   Plaintiff alleges that “he has actually overpaid
 7   [defendants] and is entitled to a refund on his mortgage
 8   account.”    Complaint ¶ 134.     Plaintiff seeks an accounting to
 9   determine the amount of his overpayment.
10                               IX.    CONVERSION
11        Plaintiff alleges that defendants collected from him “escrow
12   funds” which were to be credited to his mortgage payments
13   (interest and principal) and, to the degree they were surplus,
14   were to be returned to plaintiff.        Complaint ¶¶ 136-37.   Instead
15   of doing either, plaintiff alleges, defendants wrongfully kept
16   the funds.    Id.
17
                  “‘Conversion is the wrongful exercise of
18                dominion over the property of another.’”
                  The elements of a claim for conversion are
19                (1) “the plaintiff's ownership or right to
                  possession of the property at the time of the
20                conversion,” (2) “the defendant's conversion
                  by a wrongful act or disposition of property
21                rights,”   and   (3) damages.  “It   is   not
22                necessary that there be a manual taking of
                  the property,” only “an assumption of control
23                or ownership over the property, or that the
                  alleged converter has applied the property to
24                his [or her] own use.”
25   Prakashpalan v. Engstrom, Lipscomb and Lack, 223 Cal. App. 4th
26   1105, 1135 (2nd Dist. 2014) (citations omitted).

27                A cause of action for conversion of money can
                  be stated only where defendant interferes
28
                                         31
 1               with plaintiff's possessory interest in a
                 specific, identifiable sum, such as when a
 2               trustee or agent misappropriates the money
                 entrusted to him. “‘Money cannot be the
 3
                 subject of a cause of action for conversion
 4               unless there is a specific, identifiable sum
                 involved, such as where an agent accepts a
 5               sum of money to be paid to another and fails
                 to make the payment.
 6

 7   Kim v. Westmoore Partners, Inc., 201 Cal. App. 4th 267, 284 (4th

 8   Dist. 2011) (citations omitted).

 9        Defendant moves to dismiss on the grounds that plaintiff’s

10   right to payment is a “mere contractual one.”     ECF No. 96 at 29.

11   This misconceives the claim plaintiff is making.    Plaintiff does

12   not simply assert that defendants owe him money under the

13   contract.   Rather, he asserts that pursuant to the contract, he

14   entrusted specific sums of money to defendants, which defendants

15   were to use for a specific purpose – to credit plaintiff’s

16   mortgage account, and return the surplus.   Plaintiff further

17   asserts that defendants instead took the money entrusted to them,

18   used it to pay fees plaintiff did not owe, and are refusing to

19   return it, or even any surplus after the fees are paid.    This

20   states a claim for conversion.

21                        X.   WRONGFUL FORECLOSURE
22        Plaintiff asserts a claim for wrongful foreclosure, alleging
23   numerous errors and points of unfairness, and also alleging that
24   he has made “full and timely tender of all amounts owed to
25   defendants.”   See Complaint ¶ 147.   Defendant
26
                 To obtain the equitable set aside of a
27               trustee's  sale   or maintain  a   wrongful
                 foreclosure claim, a plaintiff must allege
28               that (1) defendants caused an illegal,
                                      32
 1                fraudulent, or willfully oppressive sale of
                  the property pursuant to a power of sale in a
 2                mortgage or deed of trust; (2) plaintiff
                  suffered prejudice or harm; and (3) plaintiff
 3
                  tendered   the    amount   of   the   secured
 4                indebtedness or were excused from tendering.
                  Recognized exceptions to the tender rule
 5                include when: (1) the underlying debt is
                  void, (2) the foreclosure sale or trustee's
 6                deed is void on its face, (3) a counterclaim
                  offsets   the   amount   due,  (4)   specific
 7
                  circumstances make it inequitable to enforce
 8                the debt against the party challenging the
                  sale, or (5) the foreclosure sale has not yet
 9                occurred.

10   Chavez v. Indymac Mortgage Services, 219 Cal. App. 4th 1052, 1062

11   (4th Dist. 2013) (emphasis added) (citations omitted).

12        Defendant BANA moves to dismiss on the ground that plaintiff

13   has not alleged “tender.”    This has two problems.    First,

14   plaintiff has alleged “tender.”    See Complaint ¶ 147.    Second,

15   tender is not required where the claim is for “wrongful

16   foreclosure” where, as here, “the foreclosure sale has not yet

17   occurred.”    Chavez, 219 Cal. App. 4th at 1062.36    BANA also

18   asserts that plaintiff has not performed under the Deed of Trust

19   by failing to obtain insurance on the property.      As discussed

20   36
       As QLS points out, and as the Magistrate Judge found, a
     wrongful foreclosure claim seeking to set aside a foreclosure
21
     sale would be premature where no foreclosure sale had yet
22   occurred. To the degree federal magistrate judges and district
     courts have held that all wrongful foreclosure claims are
23   premature unless a sale has occurred, this court respectfully
     disagrees. The California courts acknowledge the validity of
24   claims for wrongful foreclosure prior to the foreclosure sale
     where, as here, defendants are alleged to have violated laws
25   intended to avoid foreclosure. See Pfeifer v. Countrywide Home
26   Loans, Inc., 211 Cal. App. 4th 1250, 1280 (1st Dist. 2012)
     (“[c]ourts, however, have not required tender when the lender has
27   not yet foreclosed and has allegedly violated laws related to
     avoiding the necessity for a foreclosure”).
28
                                       33
 1   above, plaintiff has credibly alleged that BANA has waived
 2   plaintiff’s performance.
 3          Defendant QLS moves to dismiss because plaintiff has not
 4   alleged it did anything unlawful, and because it acted in good
 5   faith.      However, plaintiff has set out in excruciating detail all
 6   the things he says went wrong with the Notice of Trustee’s Sale,
 7   and why he thinks they violate specified sections of California
 8   law.   If QLS wishes to get this claim dismissed, it must set
 9   forth which allegations are not legally sufficient, and why.
10   This court will not, on its own initiative, try to identify the
11   allegations QLS thinks are insufficient and why.37
12        XI.    BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
13          Plaintiff asserts that all defendants breached the covenant
14   of good faith and fair dealing in relation to the Deed of Trust.
15   Broadly stated, that covenant requires that neither party do
16   anything that will deprive the other of the benefits of the
17   agreement.     Freeman & Mills, Inc. v. Belcher Oil Co., 11 Cal. 4th
18   85, 91 (1995).
19
            A.     Defendants QLS and Balboa.
20
            The court adopts the Magistrate’s findings and
21
     recommendation that QLS and Balboa be dismissed from this claim
22

23
     37
       This court is aware of its obligation to treat the Complaint
24   with some liberality, since it is authored by a pro se plaintiff.
25   However, the motion to dismiss is authored by a party represented
     by counsel. Defendant must, accordingly, do the work of getting
26   the complaint dismissed, if it is to be dismissed, rather than
     simply pointing out that it does not like the Complaint, and
27   demand that this court or the Magistrate Judge do all the
     research needed to establish whether the claim is valid or not.
28
                                        34
 1   because they are not alleged to be parties to the mortgage
 2   agreement.    See ECF No. 123 at 46-47.
 3        B.      BANA and BAC Home Loans.
 4        Defendants BANA and BAC Home Loans move to dismiss this
 5   claim because this claim “is limited to situations in which a
 6   fiduciary relationship exists.”    ECF No. 96 at 30.   However, as
 7   the Magistrate Judge found, in California, every contract carries
 8   with it an implied covenant    of good faith and fair dealing.38
 9   See, e.g., Wilson v. 21st Century Ins. Co., 42 Cal. 4th 713, 720
10   (2007) (“The law implies in every contract … a covenant of good
11   faith and fair dealing”); Freeman & Mills, Inc. v. Belcher Oil
12   Co., 11 Cal. 4th 85, 91 (1995) (“‘It is well settled that, in
13   California, the law implies in every contract a covenant of good
14   faith and fair dealing.’”) (emphasis in text); Carma Developers
15   (Cal.), Inc. v. Marathon Development California, Inc., 2 Cal. 4th
16   342, 371-72 (1992) (same).
17        BANA also asserts that the Complaint does not allege that
18   defendants have frustrated plaintiff’s ability to obtain the
19   benefits of the original loan.    This is also not so.   Plaintiff
20   alleges that by placing the escrow account against his mortgage,
21   BANA has prevented plaintiff from paying off his mortgage in the
22   manner he anticipated and agreed to, at the time he signed the
23

24   38
       The Magistrate Judge recommended that the claim be found to be
     barred by the statute of limitations. The court will not adopt
25   that recommendation however, as it is an affirmative defense
26   which neither defendant raised in their motion. In any event,
     the claim arose not upon the signing of the Deed of Trust in
27   2001, but upon the alleged breach of the covenant in 2010 or
     2011.
28
                                       35
 1   modified mortgage agreement.
 2          This claim will not be dismissed against BANA.39
 3                            XII. NEGLIGENCE
 4          The court adopts the Magistrate Judge’s findings and
 5   recommendation that the negligence claim be dismissed as to BANA,
 6   BAC Home Loans and Balboa, except that the claim will be
 7   dismissed with prejudice.40      See ECF No. 123 at 48-49.
 8           XIII.      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 9          The court adopts the Magistrate Judge’s findings and
10   recommendation that the claim for intentional infliction of
11   emotional distress be dismissed as to BANA, BAC Home Loans,
12   Balboa and QLS, except that the claim will be dismissed with
13   prejudice.      See ECF No. 123 at 49-50.
14                      XIV. CALIFORNIA’S FAIR BUSINESS LAW
15          Defendants move to dismiss the claim under Cal. Bus. & Prof.
16   Code § 17200 on the ground that the court should dismiss all the
17   underlying claims of unfair or unlawful practices.       Since some of
18   those claims have survived dismissal, this claim will not be
19   dismissed, to the degree it is predicated on a surviving claim.
20                            XV.   CIVIL RICO
21          The court adopts the Magistrate Judge’s findings and
22   recommendation that the civil claim under the Racketeer
23   Influenced and Corrupt Organizations Act (“RICO”), be dismissed
24   as to BANA, BAC Home Loans, Balboa and QLS, except that the claim
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     39
26     BAC Home Loans is not alleged to have been a party to the
     contract, so it will also be dismissed.
27
     40
          Defendant QLS did not move to dismiss this claim.
28
                                         36
 1   will be dismissed with prejudice.41      See ECF No. 123 at 28-29.
 2                               CONCLUSION
 3          For the reasons set forth above:
 4          1.   The motion of BANA, BAC Home Loans, Balboa and QLS to
 5   dismiss the complaint in its entirety for failure to comply with
 6   Rule 8 is DENIED;
 7          2.   The motion of BANA and BAC Home Loans, to dismiss the
 8   RESPA claim (Claim One), under 12 U.S.C. § 2605(e) and 24 C.F.R.
 9   § 3500.21, is DENIED, as plaintiff has properly alleged that
10   defendants failed to respond to three QWRs in a timely manner;
11          3.   The motion of BANA and BAC Home Loans, to dismiss the
12   RESPA claim (also Claim One), under 12 U.S.C. § 2609 AND 24
13   C.F.R. § 3500.17, is GRANTED without leave to amend, as there is
14   no private right of action.
15          Accordingly, this portion of Claim One is DISMISSED in its
16   entirety, with prejudice;
17          4.   The motion of QLS, to dismiss the TILA and Regulation Z
18   claim (Claim Two), is GRANTED without leave to amend, as the
19   claim only lies against a creditor or lender.
20          Accordingly, this portion of Claim Two (against QLS) is
21   DISMISSED, with prejudice;
22          5.   The motion of BANA and BAC Home Loans to dismiss the
23   TILA and Regulation Z claim (also Claim Two), is DENIED, as the
24   allegations that defendants failed to provide a pay-off balance,
25   and failed to credit plaintiff’s payment in a timely manner, are
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          Defendant HRG did not move to dismiss this claim.
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                                       37
 1   sufficiently pled, and the claim is not barred by the statute of
 2   limitations;
 3        7.    The motion of BANA and BAC Home Loans to dismiss the
 4   FDCPA claim (Claim Three), is GRANTED without leave to amend, as
 5   BANA is categorically exempt as a “creditor,” and BAC Home Loans
 6   is exempt because under the facts alleged in the Complaint, it is
 7   not a “debt collector.”
 8        Accordingly, this portion of Claim Three (against BANA and
 9   BAC Home Loans) is DISMISSED, with prejudice;
10        8.    The motion of QLS to dismiss the FDCPA claim (also
11   Claim Three), is DENIED, as the Complaint sufficiently alleges
12   that QLS is a “debt collector,” and sufficiently alleges conduct
13   that violates the FDCPA;
14        9.    The motion of BANA to dismiss the Rosenthal Act claim
15   (also Claim Three) is DENIED, because BANA is not exempt and the
16   Complaint sufficiently alleges that BANA falsely referred to QLS
17   as “the attorneys;”
18        10.   The motion of BANA to dismiss the claim under Cal. Civ.
19   Code § 2954(a)(1) (Claim Four), is DENIED for reasons set forth
20   by the Magistrate Judge;
21        11.   The motion of BANA to dismiss the fraud claim
22   (Claim Five), is DENIED, as it is not barred by the statute of
23   limitations and sufficiently pleads a claim for fraud;
24        12.   The motion of BANA, BAC Home Loans and QLS to dismiss
25   the Negligent Misrepresentation claim regarding loan modification
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 1   activities (also Claim Five) is GRANTED without leave to amend,42
 2   as the allegations fail to state a claim.
 3        Accordingly, this portion of Claim Five is DISMISSED in its
 4   entirety, with prejudice;
 5        13.     The motion of BANA and BAC Home Loans to dismiss the
 6   conspiracy claim (also Claim Five), is GRANTED without leave to
 7   amend, as the allegations fail to state a claim.
 8        Accordingly, the conspiracy portion of Claim Five is
 9   DISMISSED in its entirety, with prejudice;
10        14.     The motion of BANA to dismiss the breach of contract
11   claim (Claim Six), is DENIED, as the Complaint sufficiently
12   alleges the elements of the claim;
13        15.     The motions of and BAC Home Loans, Balboa and QLS to
14   dismiss the breach of contract claim (also Claim Six), are
15   GRANTED without leave to amend, as plaintiff does not allege any
16   contract with BAC Home Loans, Balboa or QLS.
17        Accordingly, this portion of Claim Six (against BAC Home
18   Loans, Balboa and QLS) is DISMISSED, with prejudice;
19        16.     The motions of BANA, BAC Home Loans, Balboa and QLS to
20   dismiss the claim for declaratory relief (Claim Seven), are
21   GRANTED without leave to amend, as the claim is redundant of the
22   request for relief.
23        Accordingly, Claim Seven is DISMISSED in its entirety, with
24   prejudice;
25
     42
26     It is theoretically possible that plaintiff could amend his
     complaint to state a claim. However, this is plaintiff’s third
27   complaint in this case, and it does not appear that the pro se
     plaintiff is capable of, or willing to, correct his pleadings.
28
                                       39
 1        17.     The motion of BANA and BAC Home Loans to dismiss the
 2   claim for an accounting (Claim Eight), is DENIED, as the
 3   Complaint sufficiently pleads the claim;
 4        18.     The motion of BANA and BAC Home Loans to dismiss the
 5   conversion claim (Claim Nine), is DENIED, as the Complaint
 6   sufficiently pleads the claim;
 7        19.     The motions of BANA, BAC Home Loans, Balboa and QLS to
 8   dismiss the claim for wrongful foreclosure (Claim Ten), is
 9   DENIED, as the Complaint sufficiently pleads the claim;
10        20.     The motion of BANA and BAC Home Loans to dismiss the
11   claim for breach of the covenant of good faith and fair dealing
12   (Claim Eleven), is DENIED, as the Complaint sufficiently pleads
13   the claim;
14        21.     The motions of Balboa and QLS to dismiss the claim for
15   breach of the covenant of good faith and fair dealing (also
16   Claim Eleven), is GRANTED without leave to amend, as the
17   Complaint does not allege they are parties to the contract.
18        Accordingly, this portion of Claim Eleven (against Balboa
19   and QLS) is DISMISSED, with prejudice;
20        22.     The motion of BANA and BAC Home Loans to dismiss the
21   claim for negligence (Claim Twelve), is GRANTED without leave to
22   amend, as the Complaint fails to state a claim;
23        Accordingly, Claim Twelve is DISMISSED in its entirety, with
24   prejudice;
25        23.     The motions of BANA, BAC Home Loans, Balboa and QLS to
26   dismiss the claim for intentional infliction of emotional
27   distress (Claim Thirteen), is GRANTED without leave to amend, as
28   the Complaint fails to state a claim;
                                       40
 1        Accordingly, Claim Thirteen is DISMISSED in its entirety,
 2   with prejudice;
 3        24.   The motions of BANA, BAC Home Loans, Balboa and QLS to
 4   dismiss the claim for violation of Cal. Bus. & Prof. Code § 17200
 5   (Claim Fourteen), is DENIED to the degree the claim is predicated
 6   upon any of the surviving claims discussed above;
 7        25.   The motions of BANA, BAC Home Loans, Balboa and QLS to
 8   dismiss the claim for civil RICO (Claim Fourteen), is GRANTED
 9   without leave to amend, for failure to state a claim;
10        Accordingly, Claim Fifteen is DISMISSED in its entirety,
11   with prejudice.
12        This matter is remanded to the Magistrate Judge for further
13   proceedings.
14        IT IS SO ORDERED.
15        DATED:    May 21, 2014.
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